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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


TAMARA JEAN FARRELL-SHANLEY,          )
an individual,                        )
                                      )              CASE NO.: 1:21-cv-00986-SDG
            Plaintiff,                )
vs.                                   )
                                      )
BURLINGTON COAT FACTORY               )
WAREHOUSE CORPORATION,                )
a Florida Corporation,                )
                                      )
and                                   )
                                      )
SOUTHLAKE SDC, LLC,                   )
a Delaware Limited Liability Company, )
                                      )
            Defendants.               )
___________________________________/ )

            STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff and Defendants, pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, hereby stipulate to dismiss this action with prejudice and

except as otherwise agreed between the parties pursuant to their Settlement

Agreement, each party shall bear its respective fees and costs.

Dated: May 28, 2021

/s/ John A. Moore                             /s/ Katherine M. Silverman
John A. Moore, Esq.                           Katherine M. Silverman
Georgia Bar No: 519792                        Charles H. Van Horn
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/s/Kimberly B. Reeves       .




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 28th day of May, 2021, I electronically

filed the foregoing with the Clerk of Court by using CM/ECF system which will

send notice of electronic filing to all counsel of record.

                                               /s/ John A. Moore
                                               John A. Moore, Esq.




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